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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                    Case No. 17-21468-CIV-RNS


     LISA MOLLICONE and MILLIE LAND, )
     on behalf of themselves, all others similarly )
     situated, and the general public,             )
                                                   )
                                    Plaintiffs,    )
                                                   )
             vs.                                   )
                                                   )
                                                   )
     UNIVERSAL HANDICRAFT, INC.,                   )
     D/B/A “Deep Sea Cosmetics” d/b/a              )
     “Adore Organic Innovations;” and              )
     SHAY SABAG SEGEV,                             )
                                                   )
                                    Defendants.
                                                   )
                                                   /



            PLAINTIFFS’ UNOPPOSED MOTION ATTORNEYS’ FEES, COSTS,
                           AND INCENTIVE AWARDS


          Plaintiffs Lisa Mollicone and Millie Land (“Plaintiffs”) respectfully submit this
   unopposed motion for attorneys’ fees, costs, and incentive awards pursuant to the Court’s April
   3, 2018 Preliminary Approval Order (DE No. 120) and hereby state as follows:




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                                      MEMORANDUM OF LAW
       I.   INTRODUCTION
            This Unopposed Motion for Attorneys’ Fees, Costs, and Incentive Awards (“Fee
   Motion”) comes before the Court pursuant to the Settlement and the Court’s April 3, 2018
   Preliminary Approval Order (DE No. 120), which set a Final Approval Hearing for August 10,
   2018 at 8:30 a.m. in the above-entitled Court, including consideration of any application for
   attorneys’ fees, costs, and incentive awards.
            Plaintiffs/Class Representatives Lisa Mollicone and Millie Land (“Plaintiffs”), by and
   through their undersigned counsel of record (“Class Counsel”), hereby respectfully move this
   Court for entry of an Order granting an award of attorneys’ fees to Class Counsel in the amount
   of $281,233.28.1 That amount is 31.9% of the $883,000 Settlement Fund and is consistent with
   the percentage fee often awarded in ‘percentage of the fund’ cases, with many fee awards
   exceeding 30%, in addition to costs being awarded.
            In addition, Class Counsel are requesting that the Court also award their costs reasonably
   incurred in the prosecution of this litigation in the amount of $18,776.72. Thus, in sum, Class
   Counsel is seeking a total fee and expense award of $300,000.
            Furthermore, Plaintiffs are seeking incentive awards for their efforts in representing the
   Settlement Class in this action. Specifically, Plaintiff Lisa Mollicone seeks an incentive award in
   the amount of $5,000 and Plaintiff Millie Land seeks an incentive award in the amount of
   $3,000.




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     Class Counsel has expended 642.5 hours in this litigation. See Declaration of Ronald A. Marron
   in Support of Plaintiffs’ Unopposed Motion for Attorneys’ Fees, Costs, and Incentive Awards
   filed concurrently herewith (“Marron Decl.”), ¶¶ 19, 21; Declaration of Cullin A. O’Brien in
   Support of Plaintiffs’ Unopposed Motion for Attorneys’ Fees, Costs, and Incentive Awards filed
   concurrently herewith (“O’Brien Decl.”), ¶ 14. With a total lodestar of $364,192.50 between the
   two firms (Marron Decl., ¶ 21; O’Brien Decl., ¶ 14), the requested fee of $281,223.28 results in a
   negative multiplier (i.e. a reduction of $82,969.22 from Class Counsel’s lodestar). Said
   differently, Class Counsel are seeking 77.218% of their total lodestar ($364,192.50 x .77218 =
   $281,223.28). Thus, the hours claimed by Class Counsel are “reasonable” as they stand. See
   Perkins v. Mobile Housing Board, 847 F.2d 735, 738 (11th Cir. 1988) (attorney hours sworn to
   are “evidence of considerable weight on the issue of the time required in the usual case” and
   should not be reduced unless “the time claimed is obviously and convincingly excessive under
   the circumstances”).


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             In light of the excellent results achieved in this litigation, including both monetary and
   injunctive relief, Plaintiffs’ Motion for Attorneys’ Fees, Costs, and Incentive Awards should be
   granted.
       II.   THE SETTLEMENT PROVIDES FOR BOTH A COMMON FUND AND
             INJUNCTIVE RELIEF
             In addition to valuable injunctive relief, the Settlement Fund in this action provides a
   total of $883,000 in monetary relief, which is comprised of the following components:
   (1) $50,000 to Settlement Claimants with a proof of purchase who chose to receive a $25.00 cash
   payment (See Class Action Settlement Agreement (“Agreement”), DE No. 119-1 at ¶
   6.2(1)(a)(i));2   (2)   $225,000    in   electronic   gift   cards   for   use   on   the   website,
   www.adorecosmetics.com, to Settlement Claimants with a proof of purchase who chose to
   receive a gift card for 50% of the purchase price paid for their Adore Products as reflected on the
   proof of purchase (Agreement at ¶ 6.2(1)(a)(ii));3 (3) $100,000 in electronic gift cards for use on
   the website, www.adorecosmetics.com, to Settlement Claimants without a proof of purchase
   with a maximum gift card value of $50.00 per such Claimant (Agreement ¶ 6.2(1)(b)); (4)
   $200,000 for notice and administration expenses (Agreement at ¶ 5.3); (5) $300,000 for Class
   Counsel’s attorneys’ fees and expenses, subject to this Court’s approval (Agreement at ¶ 8.1);
   (6) $5,000 as an incentive award to Plaintiff Mollicone for her efforts in this action, subject to
   this Court’s approval (Agreement at ¶ 8.3), and (7) $3,000 as an incentive award to Plaintiff
   Millie Land for her efforts in this action, subject to this Court’s approval (Agreement at ¶ 8.3).
   The value of the electronic gifts cards and the costs of notice and administration are properly
   included when calculating the value of the total Settlement Fund. See In re Online DVD-Rental
   Antitrust Litig., 779 F.3d 934, 951-53 (9th Cir. 2015) (including the value of gift cards as well as
   settlement notice and administration expenses into the total amount of the settlement fund);
   Champs Sports Bar & Grill Co. v. Mercury Payment Sys., LLC, 275 F. Supp. 3d 1350, 1353
   (N.D. Ga. 2017) (including the value of “costs of notice and administration, attorneys' fees and
   expenses, and service awards” when calculating the total value of the settlement fund).


   2
     A copy of the Parties’ Agreement is also attached as Exhibit 1 to the concurrently filed
   Declaration of Ronald A. Marron in Support of the Parties’ Joint Motion for Final Approval
   (“Marron Decl. ISO Final Approval”).
   3
     For Settlement Class Members who chose this option, there is a maximum gift card value of
   $200 per any such Settlement Class Member.


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          As mentioned above, in addition to the monetary relief provided to the Settlement Class
   Members, the Settlement also provides valuable non-monetary injunctive relief. Specifically,
   Defendants have agreed that, within eight months of the Court’s final approval of the Settlement
   Agreement, they would comply with the following prospective injunctive relief: (1) Defendants
   will remove the word “proven” from the labelling of the Adore Products and the description or
   promotion of the Adore Products upon the www.adorecosmetics.com/ website; (2) Defendants
   will remove the word “breakthrough” from the labelling of the Adore Products and the
   description or promotion of the Adore Products upon the www.adorecosmetics.com/website; (3)
   Defendants will remove the phrase: “most advanced anti-aging science available today” from the
   labelling of the Adore Products and the description or promotion of the Adore Products upon the
   www.adorecosmetics.com/ website, and; (4) Defendants shall not state that the plant stem cell
   formula contains “live” plant stem cells. Agreement at ¶ 6.2(2)(a).
          This injunctive relief provides a valuable benefit to the class, and future consumers, and
   should be considered when attorneys’ fees and expenses. See, e.g., Marty v. Anheuser-Busch
   Companies, LLC, No. 13-cv-23656-JJO, 2015 WL 6391185, at *2 (S.D. Fla. Oct. 22, 2015)
   (“Under Eleventh Circuit law, injunctive changes such as label modifications represent a benefit
   to the class and should be considered when approving a class settlement.”); Wilson v. EverBank,
   No. 14-CIV-22264-2016 WL 457011, at *11 (S.D. Fla. Feb. 3, 2016) (“courts rightly consider
   the value of injunctive and monetary relief together in assessing whether a class action settlement
   provides sufficient relief to the class.”); Hamilton v. SunTrust Mortg. Inc., No. 13–60749–CIV,
   2014 WL 5419507, at *12 (S.D. Fla. Oct. 24, 2014) (“The Court finds the injunctive changes
   provided in the Settlement Agreement are important and have significant value to the class
   members nationwide.”).
   III.   CLASS COUNSEL ARE ENTITLED TO ATTORNEYS’ FEES AND COSTS
          UNDER THE COMMON FUND DOCTRINE
          Although the “American Rule” generally prohibits a prevailing litigant in federal
   litigation from recovering attorneys’ fees in the absence of statutory authority, “[t]he common
   fund exception ‘rests on the perception that persons who obtain the benefit of a lawsuit without
   contributing to its cost are unjustly enriched at the successful litigant's expense.’” Camden I
   Condo. Ass'n, Inc. v. Dunkle, 946 F.2d 768, 771 (11th Cir. 1991) (quoting Boeing Co. v. Van
   Gemert, 444 U.S. 472, 478 (1980)). Therefore, “[a]ttorneys in a class action in which a common



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   fund is created are entitled to compensation for their services from the common fund, but the
   amount is subject to court approval.” Id. (citing Fed. R. Civ. P. 23(e)). Here, the Settlement
   creates a common fund in the amount of $883,000. As discussed in more detail below, Class
   Counsel’s request for fees in the amount of 31.9% of the total fund is reasonable and should be
   approved.
   IV.    CLASS COUNSEL ARE ALSO ENTITLED TO ATTORNEYS’ FEES AND
          COSTS UNDER APPLICABLE CALIFORNIA LAW
          “An award of attorneys’ fees incurred in a suit based on state substantive law is generally
   governed by state law.” See Champion Produce, Inc. v. Ruby Robinson Co., 342 F.3d 1016, 1024
   (9th Cir. 2003). Here, Plaintiff Lisa Mollicone purchased the Adore Products in Los Angeles,
   California and sought relief under California’s consumer protection laws. See generally Third
   Amended Complaint (“TAC”), DE No. 95. Thus, Plaintiff Mollicone invokes California’s
   Consumers Legal Remedies Act (“CLRA”), Cal. Civ. Code §§ 1750, et seq. and California’s
   Private Attorney General Statute, Cal. Civ. Proc. Code § 1021.5 as applicable fee-shifting
   statutes. Under the CLRA “the court shall award court costs and attorney’s fees to a prevailing
   plaintiff in litigation filed pursuant to this section.” Cal. Civ. Code § 1780(e) (emphasis added).
          The legislative policy to allow prevailing plaintiffs reasonable attorneys’ fees is
          clear. Section 1780 provides remedies for consumers who have been victims of
          unfair or deceptive business practices. The provision for recovery of attorney’s
          fees allows consumers to pursue remedies in cases . . . where the compensatory
          damages are relatively modest.

   Hayward v. Ventura Volvo, 108 Cal. App. 4th 509, 512 (2003). “[T]he availability of costs and
   fees to prevailing plaintiffs is integral to making the CLRA an effective piece of consumer
   legislation, increasing the financial feasibility of bringing suits under the statute.” Meyer v.
   Sprint Spectrum L.P., 45 Cal. 4th 634, 644 (2009). Thus, this provision must “be liberally
   construed and applied to promote [the CLRA’s] underlying purposes, which are to protect
   consumers against unfair and deceptive business practices and to provide efficient and
   economical procedures to secure such protection.” See Cal. Civ. Code § 1760; accord Hayward,
   108 Cal. App. 4th at 512-13 (“section 1760 expressly directs [courts] to liberally construe section
   1780 to protect consumers”). “Accordingly, an award of attorney fees to ‘a prevailing plaintiff’
   in an action brought pursuant to the CLRA is mandatory, even where the litigation is resolved by




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   a pre-trial settlement agreement, absent an enforceable agreement to the contrary.” Kim v.
   Euromotors W./The Auto Gallery, 149 Cal. App. 4th 170, 178-79, 181 (2007).4
            Here, Plaintiffs are the prevailing and successful party because their lawsuit, initiated
   close to three years ago, achieved its main objective of remedying what the Plaintiffs have
   alleged is false and deceptive advertising of Defendants’ line of Adore Cosmetics marketed as
   containing a plant stem cell formula. As discussed in further detail below, the agreed-upon
   Settlement, if approved in finality, will result in both monetary and injunctive relief. Injunctive
   relief, such as this, that is “‘socially beneficial’ . . . justif[ies] a fee award under” the CLRA. See
   In re Bluetooth Headset Prod. Liab. Litig., 654 F.3d 935, 944 (9th Cir. 2011). By achieving their
   main objectives sought in bringing suit, Plaintiffs are successful and prevailing parties.
       V.   THE SETTLEMENT PROVIDES FOR ATTORNEYS’ FEES, COSTS, AND
            INCENTIVE AWARDS
            “A request for attorney’s fees should not result in a second major litigation. Ideally . . .
   litigants will settle the amount of a fee.” Hensley v. Eckerhart, 461 U.S. 424, 437 (1983). That is
   what has been done here—in addition to resolving the claims for damages and other relief, the
   Parties also entered into a settlement regarding Plaintiffs’ claims for attorneys’ fees, costs, and
   incentive awards. Agreement at ¶¶ 8.1 & 8.3.
            Courts across the nation routinely acknowledge that parties may settle claims for
   attorneys’ fees in a class action by entering into an agreement—like the present case—that the
   defendants will pay a plaintiff’s attorneys’ fees. See Bellifemine v. Sanofi-Aventis U.S. LLC, No.
   07 CIV. 2207 JGK, 2010 WL 3119374, at *5 (S.D.N.Y. Aug. 6, 2010) (“An agreed upon award
   of attorneys’ fees and expenses is proper in a class action settlement, so long as the amount of
   the fee is reasonable under the circumstances.”); In re Consumer Privacy Cases, 175 Cal. App.
   4th 545, 553 (2009) (a fee agreement “‘serves to facilitate settlements and avoids a conflict, and
   yet it gives the defendant a predictable measure of exposure and total monetary liability for the


   4
     Additionally, California Civil Procedure Code “section 1021.5 authorizes an award of attorney
   fees to a ‘private attorney general,’ that is, a party who secures a significant benefit for many
   people by enforcing an important right affecting the public interest.” Serrano v. Stefan Merli
   Plastering Co., 52 Cal. 4th 1018, 1020 (2011). Fees are awarded when: (1) the action “has
   resulted in the enforcement of an important right affecting the public interest,” (2) “a significant
   benefit, whether pecuniary or nonpecuiary, has been conferred on the general public or a large
   class of persons”, and (3) “the necessity and financial burden of private enforcement . . . are such
   as to make the award appropriate.” Id. (citations omitted).


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   judgment and fees in a case. To the extent it facilitates completion of settlements, this practice
   should not be discouraged.”); 4 NEWBERG ON CLASS ACTIONS (4th ed.) § 12:3 (“Defendants in a
   class action settlement may properly agree to pay the plaintiffs’ attorneys’ fees and expenses”).
          Where, as here, the Parties have negotiated an arms’ length settlement, “[a] court should
   refrain from substituting its own value for a properly bargained-for agreement.” In re Apple
   Computer, Inc. Derivative Litig., No. C 06-4128 JF (HRL), 2008 WL 4820784, at *3 (N.D. Cal.
   Nov. 5, 2008); Ingram v. Coca-Cola Co., 200 F.R.D. 685, 695 (N.D. Ga. 2001) (courts “should
   give substantial weight to a negotiated fee amount, assuming that it represents the parties’ best
   efforts to understandingly, sympathetically, and professionally arrive at a settlement as to
   attorney’s fees.” (citation omitted)). In addition to the Parties’ agreement with respect to fees, the
   Law Offices of Ronald A. Marron and the law firm of Cullin O’Brien Law, PA have agreed to
   split any fees awarded in this action as follows: 90% to the Marron Firm and 10% to the O’Brien
   Firm. See Marron Decl., ¶ 23.
   VI.    CLASS COUNSEL’S REQUESTED FEES ARE FAIR AND REASONABLE
          In the Eleventh Circuit, class counsel are awarded a percentage of the funds obtained
   through a settlement. In Camden I – the controlling authority regarding attorneys’ fees in
   common- fund class actions – the Eleventh Circuit held that “the percentage of the fund
   approach [as opposed to the lodestar approach] is the better reasoned in a common fund case.
   Henceforth in this circuit, attorneys’ fees awarded from a common fund shall be based upon a
   reasonable percentage of the fund established for the benefit of the class.” Camden I, 946 F.2d at
   774.
          The Court has discretion in determining the appropriate fee percentage. “There is no hard
   and fast rule mandating a certain percentage of a common fund which may be awarded as a fee
   because the amount of any fee must be determined upon the facts of each case.” In re Sunbeam
   Sec. Litig., 176 F. Supp. 2d 1323, 1333 (S.D. Fla. 2001) (“Sunbeam”) (quoting Camden I, 946
   F.2d at 774). The Eleventh Circuit has provided a set of factors the Court should use to
   determine a reasonable percentage to award as an attorney’s fee to class counsel in class actions:
          (1) the time and labor required;
          (2) the novelty and difficulty of the relevant questions;
          (3) the skill required to properly carry out the legal services;
          (4) the preclusion of other employment by the attorney as a



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          result of his acceptance of the case;
          (5) the customary fee;
          (6) whether the fee is fixed or contingent;
          (7) time limitations imposed by the clients or the circumstances;
          (8) the results obtained, including the amount recovered for the clients;
          (9) the experience, reputation, and ability of the attorneys;
          (10) the “undesirability” of the case;
          (11) the nature and the length of the professional relationship
          with the clients; and
          (12) fee awards in similar cases.
   Camden I, 946 F.2d at 772 n.3 (citing factors originally set forth in Johnson v. Georgia Highway
   Express, Inc., 488 F.2d 714, 717-19 (5th Cir. 1974)).
          These 12 factors are guidelines and are not exclusive. “Other pertinent factors are the
   time required to reach a settlement, whether there are any substantial objections by class
   members or other parties to the settlement terms or the fees requested by counsel, any
   non-monetary benefits conferred upon the class by the settlement, and the economics involved in
   prosecuting a class action.” Sunbeam, 176 F. Supp. 2d at 1333 (quoting Camden I, 946 F.2d at
   775). The Eleventh Circuit has “encouraged the lower courts to consider additional factors
   unique to the particular case.” Camden I, 946 F.2d at 775. As applied, the Camden I factors
   support the requested fee.
      A. The Claims Against Defendants Required Substantial Time and Labor
          Prosecuting and settling these claims demanded considerable time and labor, making this
   fee request reasonable. The organization of Class Counsel ensured that the work was coordinated
   to maximize efficiency and minimize duplication of effort. Marron Decl. ¶ 5. Class Counsel
   devoted substantial time to investigating the claims against Defendants. Marron Decl. ¶ 6. Class
   Counsel also expended resources researching and developing the legal claims at issue. Id.
   Substantial time and resources were also dedicated to conducting discovery. Marron Decl. ¶ 7.
   Class Counsel prepared and took the depositions of party and non-party witnesses, and devoted
   substantial time to reviewing documents and electronic data produced by Defendants. Marron
   Decl. ¶¶ 7-11. Class Counsel and Defendants also served multiple sets of written discovery and
   participated in several lengthy meet and confer conferences. Marron Decl. ¶ 8. There was also



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   considerable motion practice in this case. Class Counsel filed successful oppositions to
   Defendants’ Motions to Dismiss the Second Amended Complaint and Defendants’ Motions to
   Dismiss the Third Amended Complaint. Marron Decl. ¶ 12. Additionally, Class Counsel filed an
   opposition to Defendants’ Motion to Transfer Venue. Marron Decl. ¶ 12.
          Settlement negotiations consumed further time and resources. Marron Decl. ¶ 14. The
   Parties’ mediation required substantial preparation and document review. Marron Decl. ¶ 14.
   Finally, a significant amount of time was devoted to negotiating and drafting of the Agreement
   and the preliminary approval process, and to all actions required thereafter pursuant to the
   preliminary approval order. Marron Decl. ¶ 14.
          All told, Class Counsel’s coordinated work paid dividends for the Settlement Class. Each
   of the above-described efforts was essential to achieving the Settlement before the Court. Marron
   Decl. ¶ 15. The time and resources devoted to this Action readily justify the requested fee.
      B. The Issues Involved Were Novel and Difficult, and Required the Skill of Highly
          Talented Attorneys
          “[P]rosecution and management of a complex national class action requires unique legal
   skills and abilities.” Edmonds v. U.S., 658 F. Supp. 1126, 1137 (D.S.C. 1987). This Court
   witnessed the quality of our legal work, which conferred a substantial benefit on the Settlement
   Class in the face of significant litigation obstacles. Class Counsel’s work required the acquisition
   and analysis of a significant amount of factual and legal information.
          In any given case, the skill of legal counsel should be commensurate with the novelty and
   complexity of the issues, as well as the skill of the opposing counsel. Litigation of this Action
   required counsel trained in class action law and procedure as well as the specialized issues
   presented here, such as analyzing regulations under the Food, Drug, and Cosmetics Act
   (“FDCA”) and the interplay of varying state laws. Class Counsel possess these attributes, and
   their participation added value to the representation of this Settlement Class. Marron Decl., ¶¶ 3-
   4 & Ex. 1. The record demonstrates that the Action involved complex and novel challenges,
   which Class Counsel met at every juncture.
          In evaluating the quality of representation by Class Counsel, the Court should also
   consider opposing counsel. See Camden I, 946 F.2d at 772 n.3; Ressler, 149 F.R.D. at 654.
   Throughout the litigation, Defendants were represented by extremely capable counsel who
   litigated this case vigorously. They were worthy, highly competent adversaries. Marron Decl., ¶



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   16; Walco Invs. v. Thenen, 975 F. Supp. 1468, 1472 (S.D. Fla. 1997) (stating that “[g]iven the
   quality of defense counsel from prominent national law firms, the Court is not confident that
   attorneys of lesser aptitude could have achieved similar results”).
       C. Class Counsel Achieved a Successful Result
             Given the significant litigation risks Class Counsel faced, the Settlement represents a
   successful result. Rather than facing years of costly and uncertain litigation, the Settlement Class
   Claimants will receive both monetary and injunctive relief. Settlement claimants with a receipt
   can chose to receive either a $25.00 cash payment or an electronic gift card for use on the
   website, www.adorecosmetics.com, in the amount of 50% of the purchase price paid for the
   Adore Products as reflected on the proof of purchase. Agreement at ¶ 6.2(1)(a)(i). Settlement
   Class Members who submit a valid claim without a receipt will also receive an electronic gift
   card with a maximum value of $50. Agreement at ¶ 6.2(1)(a)(ii).5 This monetary relief is
   significant considering that damages in this case would be limited to the “price premium” that
   Class Members paid as a result of Defendants’ plant stem cell representations. Because it would
   be difficult to accurately calculate the value of the “price premium” attributable to Defendants’
   plant stem cell representations, there was serious risk that the Settlement Class Members would
   recover nothing at all. See Randolph v. J.M. Smucker Co., 303 F.R.D. 679, 698 (S.D. Fla. 2014)
   (denying class certification where the plaintiff failed to show a “price premium” that was
   attributable to the defendant’s “all natural” labeling claims.). This Settlement alleviates the risk
   of no recovery and ensures that the Settlement Class Members will receive valuable monetary
   relief.
             Moreover, the Settlement also provides valuable injunctive relief that achieves the goals
   of this lawsuit. Agreement at ¶ 6.2(1)(b). Among other things, Defendants will no longer be able
   to claim that the Adore Products are “proven” to provide anti-aging benefits nor will Defendants
   be able to claim that the Adore Products have the “most advanced anti-aging science available
   today.” Agreement at ¶ 6.2(1)(b). While the value of injunctive relief may be difficult to
   monetize, the implementation of these advertising restrictions cannot be overlooked. See Brazil


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     Pursuant to the terms of the Settlement Agreement, “If the maximum Settlement Fund is
   exhausted, the Settlement Payments will be reduced pro rata.” Agreement at ¶ 6.2(1)(c). Due to
   the high number of claims that have been already submitted without a proof of purchase,
   Settlement Class Members without a proof of purchase will likely receive a gift card worth
   approximately $25.00.


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   v. Dell Inc., No. C-07-01700 RMW, 2012 WL 1144303, at *1 (N.D. Cal. Apr. 4, 2012) (“Dell’s
   elimination of allegedly false representations . . . conferred a benefit on both the class members
   and the public at large.”) (citing Vizcaino v. Microsoft Corp., 290 F.3d 1043, 1049 (9th Cir.
   2002) (“[i]ncidental or nonmonetary benefits conferred by the litigation” are factors in a fee
   application)). Indeed, there is intrinsic value in eliminating deceptive advertising. Vizcaino, 290
   F.3d at 1047. There are also direct monetary savings from providing consumers with truthful
   information that will guide future purchases.
      D. The Claims Presented Serious Risk
          The Settlement is particularly noteworthy given the combined litigation risks. As
   discussed, Defendants raised substantial and meritorious defenses. Success under these
   circumstances represents a genuine milestone.
          Consideration of the “litigation risks” factor under Camden I “recognizes that counsel
   should be rewarded for taking on a case from which other law firms shrunk. Such aversion could
   be due to any number of things, including social opprobrium surrounding the parties, thorny
   factual circumstances, or the possible financial outcome of a case. All of this and more is
   enveloped by the term ‘undesirable.’” Sunbeam, 176 F. Supp. 2d at 1336. Further, “[t]he point at
   which plaintiffs settle with defendants . . . is simply not relevant to determining the risks incurred
   by their counsel in agreeing to represent them.” Skelton v. General Motors Corp., 860 F.2d 250,
   258 (7th Cir. 1988). “Undesirability” and relevant risks must be evaluated from the standpoint of
   class counsel as of the time they commenced the suit – not retroactively, with the benefit of
   hindsight. Lindy Bros. Builders, Inc. v. American Radiator & Standard Sanitary Corp., 540 F.2d
   102, 112 (3d Cir. 1976); Walco, 975 F. Supp. at 1473.
          Prosecuting this Action was risky from the outset. Defendants were confident in their
   ability to defeat Plaintiffs’ anticipated motion for class certification. The $883,000 Settlement
   Fund is substantial, given the complexity of the litigation and the significant risks and barriers
   that loomed in the absence of Settlement. Any of these risks could easily have impeded, if not
   altogether derailed, this Action if it were not for Plaintiffs’ and the Settlement Class’ successful
   prosecution of these claims. The recovery achieved by this Settlement must be measured against
   the fact that any recovery by Plaintiffs and Settlement Class Members through continued
   litigation could only have been achieved if: (i) Plaintiffs were able to certify a class and establish
   liability and damages at trial; and (ii) the final judgment was affirmed on appeal. The Settlement



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   is an extremely fair and reasonable recovery for the Settlement Class in light of Defendants’
   defenses, and the challenging and unpredictable path of litigation that Plaintiffs and the certified
   class would have faced absent the Settlement. Marron Decl. ¶ 17.
       E. Class Counsel Assumed Considerable Risk to Pursue this Action on a Pure
          Contingency Basis
          In undertaking to prosecute this case on a contingent fee basis, Class Counsel assumed a
   significant risk of nonpayment or underpayment. Marron Decl. ¶ 18. That risk warrants an
   appropriate fee. Indeed, “[a] contingency fee arrangement often justifies an increase in the award
   of attorney’s fees.” Sunbeam, 176 F. Supp. 2d at 1335 (quoting Behrens, 118 F.R.D. at 548); In
   re Continental Ill. Sec. Litig., 962 F.2d 566 (7th Cir. 1992) (holding that when a common fund
   case has been prosecuted on a contingent-fee basis, plaintiffs’ counsel must be adequately
   compensated for the risk of non-payment).
          Public policy concerns – in particular, ensuring the continued availability of experienced and
   capable counsel to represent classes of injured plaintiffs holding small individual claims – support
   the requested fee. The progress of the Action to date shows the inherent risk faced by Class Counsel
   in accepting and prosecuting the Action on a contingency fee basis. Despite Class Counsel’s effort in
   litigating this Action, Class Counsel remains completely uncompensated for the time invested in the
   Action, in addition to the substantial expenses that were advanced. Marron Decl. ¶ 18. There can be
   no dispute that this case entailed substantial risk of nonpayment for Class Counsel.
       F. The Requested Fee Comports with Fees Awarded in Similar Cases
          Counsel’s requested fee of 31.9% of the Settlement Fund is within the range of fees
   typically awarded in similar cases. Numerous decisions within and outside of the Southern
   District of Florida and the Eleventh Circuit have found that a fee in the amount of one-third of
   the settlement fund is within the range of reason under the factors listed by Camden I. “[F]ederal
   district courts across the country have, in the class action settlement context, routinely awarded
   class counsel fees in excess of the 25 percent ‘benchmark.’”6 Allapattah Servs., Inc. v. Exxon
   Corp., 454 F. Supp. 2d 1185, 1210 (S.D. Fla. 2006) (emphasis added); Wolff v. Cash 4 Titles,
   No. 03-22778- CIV, 2012 WL 5290155, at *5-6 (S.D. Fla. Sept. 26, 2012) (“The average
   percentage award in the Eleventh Circuit mirrors that of awards nationwide—roughly one-

   6
     See also 4 Newberg on Class Actions, § 14:6, at 551 (4th ed. 2002) (“Empirical studies show
   that, regardless whether the percentage method or the lodestar method is used, fee awards in
   class actions average around one-third of the recovery.”).


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   third.”) (citing Circuit case law and listing Southern and Middle District of Florida attorneys’
   fees awards); In re: Terazosin Hydrochloride Antitrust Litigation, 99-1317-MDL-Seitz, 2005
   U.S. Dist. LEXIS 43082 (S.D. Fla. April 19, 2005) (awarding fees of 33.33 % of settlement); In
   re: Managed Care Litig. v. Aetna, MDL No. 1334, 2003 U.S. Dist. LEXIS 27228, 2003 WL
   22850070 (S.D. Fla. Oct. 24, 2003) (awarding fees and costs of 35.5% of settlement); Gutter v.
   E.I. Dupont De Nemours & Co., 95-2152-Civ-Gold, 2003 U.S. Dist. LEXIS 27238 (S.D. Fla.
   May 30, 2003) (awarding fees of 33.33 % of settlement); Waters v. Int'l Precious Metals Corp.,
   190 F.3d 1291 (11th Cir. 1999) (affirming fee award of 33.33 % of settlement).7
       G. The Fee Request is Reasonable Using a Lodestar Cross Check
          “In the Eleventh Circuit, a lodestar analysis may be used as a ‘cross-check’ to the
   percentage-of-the-fund analysis.” Marty v. Anheuser-Busch Companies, LLC, No. 13-CV-23656-
   JJO, 2015 WL 6391185, at *2 (S.D. Fla. Oct. 22, 2015). However, the “use of the lodestar cross-
   check is not mandatory.” Id. (citing In re Checking Account Overdraft Litig., 830 F. Supp. 2d
   1330, 1362-63 (S.D. Fla. 2011)). To calculate lodestar, counsel’s reasonable hours expended on
   the litigation are multiplied by counsel’s reasonable rates. See Pennsylvania v. Del. Valley
   Citizens’ Council for Clean Air, 478 U.S. 546, 565 (1986); Blum v. Stenson, 465 U.S. 886, 897
   (1984); Parker v. Time Warner Entertainment Co., L.P., 631 F. Supp. 2d 242, 264 (E.D.N.Y.
   2009). Class Counsel’s total combined lodestar here is $364,192.50, which is based on 642.5
   total hours of work (589.6 attorneys hours, 6.5 law clerk hours, and 46.4 paralegal/legal assistant
   hours). See Marron Decl. ¶¶ 19, 21; O’Brien Decl. ¶ 14.
          While a modest multiplier would be amply warranted here, Class Counsel seek less than
   their actual lodestar, resulting in a negative multiplier of .772, which will only decrease as they
   carry out their duties in effectuating the Settlement without additional fees.8 Velez v. Novartis
   Pharm. Corp., No. 04 CIV 09194 CM, 2010 WL 4877852, at *23 (S.D.N.Y. Nov. 30, 2010)

   7
     In re Lease Oil Antitrust Litig., 186 F.R.D. 403 (S.D. Tex. 1999) (35.1%); see also Gaskill v.
   Gordon, 942 F. Supp. 382, 387-88 (N.D. Ill. 1996), aff’d, 160 F.3d 361 (7th Cir. 1998) (finding
   that 33% is the norm, and awarding 38% of settlement fund); In re Combustion, Inc., 968 F.
   Supp. 1116 (W.D. La. 1997) (36%); In re Crazy Eddie Sec. Litig., 824 F. Supp. 320, 326
   (E.D.N.Y. 1993) (33.8 %); In re Ampicillin Antitrust Litig., 526 F. Supp. 494, 498 (D.D.C. 1981)
   (45%); Beech Cinema, Inc. v. Twentieth-Century Fox Film Corp., 480 F. Supp. 1195, 1199
   (S.D.N.Y. 1979), aff’d, 622 F.2d 1106 (2d Cir. 1980) (approximately 53%).
   8
     Class Counsel has not included their time expended for drafting Plaintiffs’ Motion for Final
   Approval or the time expended for drafting this Motion for Attorneys’ Fees, Costs, and Incentive
   Awards into their lodestar calculation. See Marron Decl. ¶ 26.


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   (“[W]here ‘class counsel will be required to spend significant additional time on this litigation in
   connection with implementing and monitoring the settlement, the multiplier will actually be
   significantly lower.’”) (citations omitted). And, approval of the fee award sought under a lodestar
   cross-check should not be denied when it is less than the lodestar. See id. at *23 (“[T]hat a low
   multiplier lodestar calculation yields a number approximating the percentage of fund number
   persuades the court that it is appropriate to award the full requested fee to plaintiffs’ counsel.”).
   This is especially true here, where a good recovery was obtained, including relief unavailable to
   plaintiffs at trial, there was significant risk, and all Camden I factors support the request.
      H. Class Counsel’s Hourly Rates Are Reasonable and Have Been Approved by
            Numerous Federal and State Courts
            Class Counsel’s hourly rates are reasonable because they are in line with prevailing
   hourly rates charged by other attorneys of comparable experience, reputation, and ability for
   similar complex consumer protection class action litigation. Class Counsel’s requested rates and
   hours are listed in their accompanying declarations showing work by timekeeper. See also
   Marron Decl. ¶ 19 & Table 1; O’Brien Decl. ¶ 14. To further assist the Court, Class Counsel
   have summarized their relevant experience in their accompanying declarations, exemplifying
   their vast experience and expertise in the area of complex consumer protection class action
   litigation, and setting forth examples of the hourly rates Class Counsel have been awarded in
   various other similar class action cases. Marron Decl. ¶¶ 2-4 & Ex. 1; O’Brien Decl. ¶¶ 2-10.
            Here, the Court should affirm similar hourly rates that countless other federal and state
   courts have already approved for Class Counsel. Recently, the Marron Firm’s hourly rates of
   $745 for Ronald A. Marron, $475 for Skye Resendes, $450 for Kas Gallucci, $440 for Michael
   Houchin and other associate attorneys, and $245 for law clerks were approved in In re Tommie
   Copper Products Consumer Litigation, Case No. 7:15-cv-03183-AT (S.D. N.Y.) (DE No. 127
   (declaration in support of fee motion) & DE No. 129 (Final Approval Order)); Marron Decl., ¶
   31(a). In her Final Approval Order, the Honorable Analisa Torres found that the settlement was
   “entered into by experienced counsel and only after extensive, arms-length negotiations
   conducted in good faith and with the assistance” of a mediator. In re Tommie Copper Products
   Consumer Litigation, Case No. 7:15-cv-03183-AT (S.D. N.Y.) (DE No. 129); Marron Decl., ¶
   31(a).




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          The Marron Firm’s hourly rates of $745 for Ronald A. Marron, $475 for Skye Resendes,
   $450 for Kas Gallucci, $440 for Michael Houchin and other associate attorneys, and $245 for
   law clerks were also approved in a class action concerning cosmetics products captioned Elkind
   et al. v. Revlon Consumer Products Corporation, Case No. 2:14-cv-02484-AKT (E.D. N.Y) (DE
   No. 125-2 (Declaration is Support of Fee Motion) & DE No. 131 (Final Approval Order));
   Marron Decl., ¶ 31(b). In her Final Approval Order, the Honorable Judge Tomlinson stated that
   the settlement was “negotiated by highly capable and experienced counsel with full knowledge
   of the facts, the law and the risks inherent in litigating the Action and was the product of
   vigorously fought litigation.” See Elkind et al. v. Revlon Consumer Products Corporation, Case
   No. 2:14-cv-02484-AKT (E.D. N.Y) (DE No. 131); ; Marron Decl., ¶ 31(b).
          The Marron Firm’s hourly rates of $745 for Ronald Marron, $475 for Skye Resendes and
   Alexis Wood, $450 for Kas Gallucci, $440 for William Richards and other associate attorneys,
   and $290 for law clerks, were approved by multiple state and federal court judges in three related
   dietary supplement tea cases. Marron Decl., ¶ 31(c)-(e). The first was Perry v. Truong Giang
   Corp., Los Angeles Super. Ct. Case No. BC58568, in which the Hon. Kenneth Freeman noted on
   August 6, 2015 that the hourly rates requested by Class Counsel were reasonable.
          [T]his case involved difficult legal issues . . . and . . . proving the difference
          between the price paid (around $2 per box of tea) and the actual value received
          would have been difficult since arguably some value was received (the tea itself).
          Additionally, . . . the attorneys displayed skill in researching and settling this case,
          which provides a benefit not only to Class Members but to the public at large, and
          that in so doing, the attorneys undertook significant risk by spending time on this
          litigation on a contingency basis.

   Marron Decl., ¶ 13(c). Similarly, on August 7, 2015, in In re Leaf123 (adversary proceeding of
   Augustine v. Natrol), No. 14-114466, the Hon. Brendan L. Shannon, U.S. Bankruptcy Judge for
   the District of Delaware, found the settlement in that case “fair, reasonable and adequate,” which
   included an award of $799,000 in fees. Marron Decl., ¶ 31(e). And on November 16, 2015, the
   Hon. Maxine M. Chesney, Senior District Court Judge for the Northern District of California,
   approved the same hourly rates. Marron Decl., ¶ 31(c). The court found the Marron Firm’s rates
   to be “reasonable in light of the complexity of this litigation, the work performed, Class
   Counsel’s reputation, experience, competence, and the prevailing billing rates for comparably
   complex work by comparably-qualified counsel in the relevant market.” Id.




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          On June 17, 2013, the Honorable Cormac J. Carney of the Central District of California
   approved an hourly rate of $610 for Mr. Cullin O’Brien. Johnson v. General Mills, No. SACV
   10–00061–CJC(ANx), 2013 WL 3213832, at *3-*4 (C.D. Cal. June 17, 2013); O’Brien Decl., ¶
   12. Judge Carney noted that “The Court has considered class counsel's rates and finds they are
   reasonable because of the experience of the attorneys and prevailing market rates.” O’Brien
   Decl., ¶ 12.
   VII.   THE REQUESTED COSTS ARE FAIR AND REASONABLE
          “It is well settled that counsel who create a common fund . . . are entitled to the
   reimbursement of [all reasonable] litigation costs and expenses . . . .” Velez, 2010 WL 4877852,
   at *23 (quoting In re Marsh ERISA Litig., 265 F.R.D. at 150). Compensable items include,
   among others, photocopying, travel expenses, telephone costs, postage, deposition costs, service
   of process fees, and filing fees. See Luessenhop v. Clinton Cnty., 558 F. Supp 2d 247, 271-72
   (N.D.N.Y. 2008); DiSorbo v. City of Schenectady, No. 99-CV-1131 (LEK), 2004 WL 115009, at
   * 5 (N.D.N.Y. Jan. 9, 2004) (awarding airfare and hotel expenses); Cioffi v. New York
   Community Bank, 465 F. Supp. 2d 202, 217 (E.D.N.Y. 2006) (awarding filing fees, service costs,
   photocopying, costs of depositions, and subpoena fees); Alnutt v. Cleary, 27 F. Supp. 2d 395,
   403-04 (W.D.N.Y. 1998) (awarding service of process fees). California’s CLRA and Private
   Attorney General Statute also provide for the recovery of reasonable costs. See Cal. Civ. Code §
   1780(e); Cal. Civ. Proc. Code § 1033.5.
          Here, Class Counsel have together incurred a total of $18,776.22 in recoverable costs.
   Marron Decl. ¶ 20 & Table 2. All of Class Counsel’s expenses were reasonable and necessary for
   the successful prosecution of this case. Accordingly, the Court should grant Class Counsel’s full
   request for reimbursement of their costs. See Bellifemine, 2010 WL 3119374, at *7 (“[T]he costs.
   . . are reasonable, and therefore, Class Counsel should be reimbursed for these litigation-related
   expenses.”).
  VIII.   THE REQUESTED INCENTIVE AWARDS ARE FAIR AND REASONABLE
          Pursuant to the Settlement, Class Counsel respectfully request, and Defendants do not
   oppose, Service Awards for the Class Representatives. Plaintiff Lisa Mollicone requests a service
   award in the amount of $5,000 and Plaintiff Land requests a service award in the amount of
   $3,000. Agreement at ¶ 8.3. Service awards “compensate named plaintiffs for the services they
   provided and the risks they incurred during the course of the class action litigation.” Allapattah



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   Servs., Inc. v. Exxon Corp., 454 F. Supp. 2d 1185, 1218 (S.D. Fla. 2006). “[T]here is ample
   precedent for awarding incentive compensation to class representatives at the conclusion of a
   successful class action.” David v. American Suzuki Motor Corp., 2010 WL 1628362, at *6 (S.D.
   Fla. Apr. 15, 2010). Courts have consistently found service awards to be an efficient and
   productive way to encourage members of a class to become class representatives. See, e.g.,
   Stallworth v. Monsanto Co., No. PCA 73-45. 198) U.S. Dist. LEXIS 12858, at *20-21 (N.D. Fla.
   June 26, 1980) (approving service awards ranging from $10,000 to $20,000 to four named
   plaintiffs, “each of whom devoted substantial time to the prosecution of th[e] lawsuit”); Ingram
   v. The Coca-Cola Co., 200 F.R.D. 685, 694 (N.D. Ga. 2001) (awarding class representatives
   $300,000 each, explaining that “the magnitude of the relief the Class Representatives obtained
   on behalf of the class warrants a substantial incentive award.”); Spicer v. Chicago Bd. Options
   Exchange, Inc., 844 F. Supp. 1226, 1267-68 (N.D. Ill. 1993) (collecting cases approving service
   awards ranging from $5,000 to $100,000, and awarding $10,000 to each named plaintiff).
          The relevant factors include: (1) the actions the class representatives took to protect the
   interests of the class; (2) the degree to which the class benefited from those actions; and (3) the
   amount of time and effort the class representatives expended in pursuing the litigation. See, e.g.,
   Cook v. Niedert, 142 F.3d 1004, 1016 (7th Cir. 1998). These factors, as applied to this Action,
   demonstrate the reasonableness of the requested Service Awards to Plaintiffs. Marron Decl. ¶¶
   32-33. Plaintiffs provided substantial assistance that enabled Class Counsel to successfully
   prosecute the Action including submitting to interviews with Class Counsel, reviewing all
   material filings, including approving the Agreement, locating and forwarding responsive
   documents and information, and traveling to Miami to attend mediation. Marron Decl. ¶¶ 32-33.
   Plaintiffs were also prepared to devote additional time to deposition and to be available for trial,
   if necessary. In so doing, Plaintiffs were integral to forming the theory of the case, and litigating
   it through settlement. Marron Decl. ¶¶ 32-33. Plaintiff Lisa Mollicone requests an incentive
   award in the amount of $5,000 in light of her travel to Miami for her deposition, which lasted
   over six hours. Marron Decl. ¶ 33.
    IX.   CONCLUSION
          Based on the foregoing, Class Counsel respectfully request that the Court award
   (1) $281,223.18 in attorneys’ fees; (2) $18,776.72 in costs; (3) $5,000 to Plaintiff Mollicone as




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   an incentive award for her efforts in this action, and (4) $3,000 to Plaintiff Millie Land as an
   incentive award for her efforts in this action.




   Dated: July 2, 2018                                Respectfully submitted,

                                                      /s/ Cullin O’Brien

                                                      CULLIN O’BRIEN LAW, P.A.
                                                      Cullin O’Brien / Florida Bar 0597341
                                                      cullin@cullinobrienlaw.com
                                                      6541 NE 21 St Way,
                                                      Fort Lauderdale, FL 33308
                                                      (561) 676-6370
                                                      (561) 320-0285

                                                      LAW OFFICES OF RONALD A.
                                                      MARRON
                                                      Ronald A. Marron (pro hac vice)
                                                      ron@consumersadvocates.com
                                                      Michael T. Houchin (pro hac vice)
                                                      mike@consumersadvocates.com
                                                      651 Arroyo Drive
                                                      San Diego, CA 92103
                                                      Telephone: (619) 696-9006
                                                      Fax: (619) 564-6665
                                                      Counsel for Plaintiffs and the Proposed
                                                      Classes




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                                  CERTIFICATE OF SERVICE
          I HEREBY certify that on July 2, 2018, I electronically filed the foregoing document
   with the Clerk of the Court CM/ECF.


                                                             /s/Cullin O’Brien
                                                             CULLIN O’BRIEN




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